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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division

                                Case No.: 20-22051-CIV-GAYLES

  SISVEL INTERNATIONAL S.A., 3G
  LICENSING S.A., and SISVEL S.p.A.,

                 Plaintiffs,
  v.

  HMD AMERICA, INC. and HMD
  GLOBAL OY,

                 Defendants.


             DEFENDANTS HMD AMERICA, INC. AND HMD GLOBAL OY’S
       WRITTEN OBJECTIONS TO PROPOSED CANDIDATES FOR SPECIAL MASTER

          Pursuant to the Court’s order dated June 24, 2021 (D.I. 101), Defendants (collectively,
   “HMD”) provide their written objections to the special master candidates proposed by Plaintiffs
   (collectively, “Sisvel”).
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         The Special Master candidates proposed by HMD and Sisvel are all accomplished litigators.
  But Steven Bauer and William Dyer exemplify the three criteria the parties agreed to. HMD
  respectfully submits that the two other criteria Sisvel proposes are immaterial to this appointment.
         The parties agreed on “experience litigating claim construction” as a selection criterion.
  Sisvel states that Ury Fischer has “extensive experience litigating all aspects of patent litigation
  including claim construction.” (D.I. 103 at 1.) But neither Sisvel nor Mr. Fischer identify how
  often he has participated in claim construction proceedings or his depth of involvement (i.e. as
  lead counsel, as a special master, or otherwise). (Id.; D.I. 103-2.) Sisvel does not highlight David
  Friedland’s involvement in patent litigation at any level. (D.I. 103 at 2-3; D.I. 103-1.) In contrast,
  HMD identified that Mr. Bauer has been “lead counsel in, and presented at, over 50 claim
  construction hearings,” and that Mr. Dyer presented oral argument at approximately 20 claim
  construction hearings. (D.I. 104 at 2-3.)
         The parties also agreed to the criterion “experience as a neutral in patent disputes.” Sisvel
  identifies no such experience for Messrs. Friedland or Fischer. (D.I. 103.) Mr. Friedland lists two
  such patent-related appointments in his C.V. (D.I. 103-1 at 3-4.) Mr. Fischer lists none. (D.I. 103-
  2.) In contrast, Mr. Dyer has been appointed as Special Master for claim construction seven times,
  and every report and recommendation he has issued has been adopted in full. (D.I. 104 at 3.) Mr.
  Bauer addressed over a dozen cases involving claim construction as a Federal Circuit clerk, and
  now serves as a full-time neutral for patent and IP matters. (Id. at 2).
         The parties also agreed to the criterion “education and experience in the relevant technical
  field.” While all four candidates have technical degrees, Mr. Bauer holds an advanced degree in
  computer science, and Mr. Dyer worked as a communications engineer. (Id. at 2-3.)
         HMD disputes the value of Sisvel’s proposed criteria “proximity to the jurisdiction and the
  parties” and “knowledge of practice in the jurisdiction.” Claim construction is governed by
  substantive federal patent law and Federal Circuit precedent. The Court’s Markman procedure is
  not unique to this jurisdiction. Local practice might have influenced the briefing process—but
  claim construction in this case has already been briefed; all that remains is to hear argument and
  issue recommended constructions. HMD respectfully submits that the patent-specific and technical
  experience offered by Messrs. Bauer and Dyer—experience the parties agree is important to the
  Special Master’s task—outweighs any benefit arising from practice experience in this District or
  Circuit—which, to be clear, Messrs. Bauer and Dyer both have. (D.I. 104 at 2-3).



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   Dated: July 15, 2021


                                                  /s/ Joseph W. Bain
   WILLIAM J. MCCABE, Esq.                       JOSEPH W. BAIN, ESQ.
   Pro hac vice                                  Florida Bar No. 860360
   wmccabe@perkinscoie.com                       Email Address: jbain@shutts.com
   GENE W. LEE, Esq.                             SHUTTS & BOWEN LLP
   Pro hac vice                                  1100 CityPlace Tower
   glee@perkinscoie.com                          525 Okeechobee Boulevard
   MATTHEW J. MOFFA, Esq.                        West Palm Beach, Florida 33401
   Pro hac vice                                  Telephone: (561) 835-8500
   mmoffa@perkinscoie.com                        Facsimile: (561) 650-8530
   PERKINS COIE LLP                              ATTORNEYS FOR DEFENDANTS
   1155 Avenue of the Americas, 22nd floor       HMD AMERICA, INC., AND
   New York, NY 10036                            HMD GLOBAL OY
   Telephone: (212) 262-6900
   Facsimile: (212) 977-1649

   SHYAMKRISHNA PALAIYANUR, Esq.
   Admitted pro hac vice
   spalaiyanur@perkinscoie.com
   PERKINS COIE LLP
   500 W 2nd Street, Suite 1900
   Austin, TX 78701
   Telephone: (737) 256-6114
   Facsimile: (737) 256-6300




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